                       UNITED STATES DISTRICT COURT
                    EASTERN DICSTRICT OF NORTH CAROLINA
                             WESTERN DIVISION
                               5:10-CR-116-F-2

UNITED STATES OF AMERICA                )
                                        )
                       v.               ) ORDER
                                        )
JACOB HINNANT                           )

       THIS CAUSE came on to be heard and was heard upon the Defendant's Motion

to Continue Arraignment & Trial. The court is of the opinion that this motion should be

allowed in the interest of justice and without objection from the United States

Government.

       IT IS, THEREFORE, ORDERED that the Arraignment and Trial of the above
                                                                      -te.ITn.
referenced matter be continued to ~O\l .. 8                    2010" The period of time

incurred by this continuance is excluded from the speedy trial act.



       This S-+h day of September 2010.
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               THE      NORABLE JAMES C. FOX
               SENI     UNITED STATES DISTRICT COURT JUDGE




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